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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA
1.     LEONA PAYNE,                              )
                                                 )
2.     DARRELL PAYNE,                            )
                                                 )
                     Plaintiffs,                 )
                                                 )
v.                                               )      Case No. CIV-15-1061-R
                                                 )
1.     WS SERVICES, LLC,                         )
                                                 )
                     Defendant.                  )

           JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
       COME NOW the Parties, and hereby stipulate and agree that, pursuant to Rule
41(a)(1)(A)(ii), the above-captioned matter be dismissed with prejudice against the filing
of a future action thereon. Each party to bear their own fees and costs.
       RESPECTFULLY SUBMITTED THIS 9th DAY OF NOVEMBER, 2016.

                                                 s/ Leah M. Roper
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                                                 Leah M. Roper, OBA # 32107
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                                                 And
                                                 s/Merideth P. Turpin
                                                 (signed by filing party with permission)
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                           CERTIFICATE OF SERVICE


      A true copy of the foregoing was filed and served by use of this Court’s ECF
system of filing and service to the opposing counsel below listed on this 9th day of
November, 2016.

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                                                s/ Leah M. Roper




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